          Case No. 1:11-cv-02106-PAB-CBS Document 78-3 filed 10/24/13 USDC Colorado pg 1 of
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                                                                                         Staie.rnent Period
                    UNWERSAL CONSULTING RESOURCES,LLC                                    0701709 111rough 05/31′ 09
                                                                                         D PPA OA47                   oo20983
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                                      With&awa-ls and Debits - Continued
                                                      Other Debits
Date                                                                                             Bank
Posted            Amount(3)         Desc五 ption                                                  Reference
05/07              200,000.00       Wire Tlpe:Wire Out Date:090507 Time:1307 Et                 903705070168479
                                    Tu:2009050700168479 Service R€f0O5063
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                                    Bnf:Arcanum Equity Fund Llc ID:2000O41158294
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                                    Bnf BkWachovia Bank NA Of tr'lo ID:06300O021
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                        2500        Wire Tlanefer Fee                                           903705070116635
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                        1500        Wire Ttalsfer Fee                                           903705070062316
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                        10.00       Online Bueiness Suite Direct Pnt Serviceg                   943205070112538
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                         5.∞        Wire Tlangfer Fee                                           903705K170062317
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                         5.∞        Wire Tlansfer Fee                                           90370翻 0116636
                         5.00       Wire Tlansfer Fee                                           903706150041562
                    25,000.00       \trire Tlpe:S/ire Out Date:090522 Tirrre:15fi Et            903706220225647
                                    Tbn20090522002254!7 Service ll,ef00g141
                                    BnfRichard Dalton ID:0221223761 Bnf Bk:Welle Farg
                                    O Bank, NA ID:U1000248
057722                  25.00       Wire Tlanefer Fee                                           903705220137124
057722                   5.lXl      Wire Tlarsfer Fee                                           9037f15220016417
05/22                    5.00       Wire Tlangfer Fee                                           903705220035256
05/22                    5.00       Wire Tbansfer Fee                                           903705220058981
05/22                    5.00       Wire Tlansfer Fee                                           903705220137125
05/26                    500        Wire Tlansfer Fee                                           903705260028165
05/27              300,000.00       Wire Tlpe:Intl Out Date:090527 fime:1605 Et                 903705270270749
                                    Tln:2009O52700270749 Ser-vice Ref.452968
                                    Bnf:Ueina Canavieira Rr Brasil ID:560602-0 Bnf Bk:
                                    Banco Bradeeco S.A. ID:Bbdebrspmns Pmt Det:For Pur
                                    Chase Of Diamond Manifest Ba.rrk 237
057127                  45.00       Wire Tlansfer Fee                                           903705270145060
0727                     5̲00       Wire Tbansfer Fee                                           903705270145061
0728               350,000.00       Wire Tlpe:Intl Out Date:090528 Time:0937 Et                 903705270291712
                                    Tla:200905270029U12 Service l1,ef;465906
                                    BnfUsina Canavieira Rr Braeil ID:5606024 Bnf Bk:
                                    Banco Bradegco S.A. ID:Bbdebrspmrs Pmt Det:R.ef Pur
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05ノ 28             300,000.∞        Wire Tlpe:Intl Out Date:090528 Time:1052 Et                 903705280130261
                                    tn:2009052800130261 Service Ref666186
                                    Bnf:Usina Canavieira Rr Braeil ID:560602{ Bnf Bk:
                                    Banco Bradeeco SA. Pmt Det:Ref Diamond Manifegt
05/28              知 ,000.00        Wire 1lpe:Intl Out Date:090528 Time:1148 Et                 903705280151927
                                    Tbn:2009052800151927 Service R€f:468184
                                    BnfUsina Canavieira Rr Brasil ID:5606024 Bnf Bk:
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                        45.00       Wire Tlansfer Fee                                           903705280157477
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                         5.∞        V/ire Tlanefer Fee                                          903705280060928
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                         5̲∞        Wire Tlansfer Fee                                           90370529M8596


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